 

Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 1 of 41

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US District Court, District of Columbia

Exhibit B
Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 2 of 41

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA, ET AL.,

Plaintiffs,
vs.
GOOGLE LLC,

Defendant.

CV No. 20-3010
Washington, D.C.
November 18, 2020
11:34 a.m.

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TRANSCRIPT OF

STATUS CONFERENCE VIA TELECONFERENCE PROCEEDINGS
BEFORE THE HONORABLE AMIT P. MEHTA
UNITED STATES DISTRICT JUDGE

APPEARANCES:

For the Plaintiffs:

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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 3 of 41

 

 

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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 4 of 41

 

 

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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 5 of 41

 

 

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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 6 of 41

 

 

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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 7 of 41

 

 

PROCEEDINGS

THE COURT: Hi. Good morning, everyone.

DEPUTY CLERK: Good morning, Your Honor. This is
Civil Action 20-3010, United States of America versus
Google LLC.

Kenneth Dintzer, Thomas Greene, Elizabeth Jensen,
Adam Severt, Diana Aguilar, Daniel Principato, Ryan
Sandrock, Craig Conrath on behalf of the United States of
America.

R. Scott Palmer on behalf of the State of Florida.

Matthew Michaloski and Scott Barnhart on behalf of
Indiana.

Justin Clark for Kentucky.

Kimberley Biagioli and Hart Martin for Missouri.

Mark Mattioli for Montana.

Rebecca Hartner for North Carolina.

Bret Fulkerson for Texas.

And John Schmidtlein, Franklin Rubinstein,
Mark Popofsky, and Susan Creighton on behalf of Google.

Also on the line are John Jurata for Non-Party
Sonos, Inc; Stephen Nickelsburg for Non-Party Oracle; and
Megan Gray for DuckDuckGo, Inc.

THE COURT: Okay, Counsel. Good morning to all of
you. I hope you and your families are doing well and are

safe and healthy.

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 8 of 41

 

 

All right. So we're back again this morning for a
status hearing and to see where things stand, and then, more
importantly, think about how we continue to move forward in
this case.

Most importantly since we were last together,
Google did file notice, as they had indicated they would, as
to whether they would answer or move to dismiss. And they
had indicated that they are not going to move to dismiss.

So they will be answering the complaint; I believe the
deadline for that is sometime in mid-December.

From our last hearing, we have a couple of -- we
have one deadline that is still yet to come, and then we've
got one that's sort of passed us or at least an issue that
still needs to be resolved.

The parties' initial disclosures are due ina
couple days.

And then there's the issue of the protective
order, which I received some additional -—- or I received
position papers from the parties, third parties that asked
for some additional time. So those are now due on the 20th.
So that's kind of the state of play in terms of where we are
on the schedule.

The one issue I wanted to raise with the parties,
and this is not to say that the parties themselves might not

have others, is the Rule 16.3 statement that ought to be

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 9 of 41

 

 

prepared by the parties as a framework for discovery going
forward. I wanted to talk about that a little bit today.

I want to obviously talk about resolution of the
protective-order issues, although I don't intend to hear the
issues on the merits today, to afford the third parties time
to get their filings in.

So before we sort of launch forward, let me ask
the parties whether there are any issues that they want to
raise before we turn to the few items that I had on my
agenda.

MR. DINTZER: For the Department of Justice,
Kenneth Dintzer, Your Honor.

We don't have any issues that we want to raise.

I do have -- at the last status conference, the
Court asked about whether other states might be filing a
complaint. And I don't have a definitive answer, but I do
have some more information. So I at least wanted to update
my answer from last time, if that would please the Court.

THE COURT: That would be helpful.

Thanks, Mr. Dintzer. That might affect some of
what we need to talk about in terms of scheduling. So I'm
happy to hear from you.

MR. DINTZER: So on October 20th, the following
states, Iowa, Nebraska, Colorado, Tennessee, New York,

North Carolina, and Utah, issued a statement that they plan

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 10 of 41

 

 

to conclude parts of their Google investigation in the
coming weeks. And, of course, that was said in October ——
on October 20th, but my understanding is that that holds
true.

And that if they plan to -- if they decide to file
a complaint, they're going to include a motion to
consolidate that case with this case, and it is their intent
to litigate the consolidated case cooperatively.

So that's -- I can't speak definitively, but
I understand -- my understanding is that that statement that
they made on October 20th is still vibrant today, and so
I just wanted to give the Court that information.

THE COURT: Okay.

Maybe I misheard you, Mr. Dintzer. I thought I
heard you say that those states had indicated they were
wrapping up their investigation and were not going to seek
to press additional charges; but then at the same time,

I thought I heard you say that they might seek to —~-

MR. DINTZER: If I said that, Your Honor,

I completely misspoke. And I don't want to make news and
chatter, so...

THE COURT: No, I may have misheard you.

MR. DINTZER: Let me clarify.

They plan to conclude parts of their Google

investigation in the coming weeks, so that's the first

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 11 of 41

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thing.

The second thing is, if they decide to file a
complaint -- because when they made this statement, they
were finishing their investigation, so they hadn't decided.
But if they decide to file one, that they plan to include a
motion to consolidate that complaint with ours so that that
would bring it potentially before the Court.

THE COURT: I see.

MR. DINTZER: And along those lines, if that
happened, they would plan to litigate the consolidated case
cooperatively.

THE COURT: Okay.

MR. DINTZER: So that was a forward-looking
statement from them, and I just wanted to relay that to the
Court.

THE COURT: Okay. Understood.

When you said "conclude," I took it to mean more
than just simply it's coming to an end. I took it to mean
that they were not going to press forward with any
additional litigation.

But okay. Well, that’s helpful. Thank you,

Mr. Dintzer.

Mr. Schmidtlein, anything you want to raise before

we turn to some of the issues that I wanted to discuss with

the parties?

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 12 of 41

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MR. SCHMIDTLEIN: No, Your Honor.

THE COURT: Okay.

So I think, you know, typically, we await the
answer for the parties to begin the process of engaging in
the Rule 16.3 statement that our local rules require you to
file in advance of the first Initial Scheduling Conference.
You know, from my perspective, I'd like to see the parties
get started with that, if you have not already.

I will say that our Local Rule 16.3 is, in all
candor, probably not best designed for a case like this.

I was looking at it again this morning, and, frankly, the
vast majority of the items on that -- in that rule that the
parties are asked to respond to, frankly, just are not
likely to be relevant here, but, nevertheless, are there and
ought to be answered, but ——- even if sort of summarily.

But, you know, the sort of core inquiries that
parties are required to make and that, I think, would be
most applicable here are those that are set forth in 8 and,
9, those aspects of the rule that concern scope of
discovery, length of discovery, limitations on modes of
discovery, limitations or any requirements or modifications
regarding the rules of expert disclosures.

And, you know, I don't know whether the parties
have talked through what they see here to be the sort of

time horizon for discovery, but, obviously, you know, the

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 13 of 41

12

 

 

sooner the parties are prepared to have those discussions,
at least as an initial matter, we can start pulling together
what looks like a schedule here and put that schedule in
place relatively quickly. I know both sides are anxious to
get started with discovery. And, of course, I recognize
that I have to resolve the protective-order issue before
that is done; but, nevertheless, I wanted to encourage the
parties or ask the parties to get started with that.

You know, I pulled -- and you all may have already
done this —- there was an initial submission made by the
parties concerning scope of discovery and scheduling in
Sysco -- I pulled that. And for a whole host of reasons
that I know both sides are very aware of, that was a
different case, it was on a different schedule, a larger
case, had to move very fast, and so a lot of those
considerations are absent here. But nevertheless, we'll
look back at that report that was provided.

You know, the parties did, in that case, discuss a
number of issues that I think would be useful to include in
a 16.3 report, including things such as limitations on
expert disclosures, limits on number of admissions and
requests for interrogatories; you know, whether the parties
would resolve disputes on business records, could do that
quickly.

And then obviously, we're going to have to deal

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 14 of 41

13

 

 

with the question of depositions, the number of depositions,
how those depositions are going to be affected by COVID,
which, you know, I think is going to affect how things
unfold in this case, at a minimum, for the next six months,
if not longer.

So, you know, I wanted to make those initial
observations and then sort of get everybody's reactions and
see if we can kind of set a schedule by when I can expect
the parties to have met and conferred and provided something
to me to consider.

MR. SCHMIDTLEIN: Your Honor, this is John
Schmidtlein for Google.

That's very, very helpful to us.

The parties have, I think, begun some informal
discussions along these topics.

The Department —- the plaintiffs have sent us a
draft schedule and have sent us a variety of at least their
initial views for discussion on some of these topics. And
we are considering those and we'll be getting the markup
back to them. So I think the parties are absolutely in tune
with your thinking in terms of moving forward and trying to
come to as many agreements as we can in terms of the
scope-of-discovery issues and potentially scheduling as
well.

I think the parties have worked cooperatively

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 15 of 41

14

 

 

together these last few weeks with respect to the protective
order. And as Your Honor can probably see, you know, we've
agreed on the vast majority of the provisions in the
protective order. We obviously still have some disputes
that Your Honor is going to have to resolve, but I would
absolutely expect and anticipate that we will make similar
forms of progress on the issues that you've raised.

One thing that I do want to get —- there are a
couple of things I want to get guidance from Your Honor on
this morning.

In trying to evaluate and come up with a schedule
here, you know, the piece that is difficult for us, and
continues to be difficult for us to assess, is the degree
and volume and the particulars around the third-party
discovery that the government conducted during its
investigation.

We have asked for, you know, a list of all of the
parties; we want that information as quickly as possible;
we've asked for it on an outside-counsel-only basis so we
can begin reviewing and understanding that material, as we
think it's going to affect the timing and the scope of
discovery, because we don't know very much about that
third-party investigation that the government conducted.

To date, the government has informed us that they

had produced to them roughly 1.5 million documents, but we

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 16 of 41

15

 

 

don't know sort of the full array of parties. We obviously
know there are a number of parties who have appeared and
want to be heard in connection with the protective-order
issue. And so we know that there are at least eight third
parties that have provided information. But we don't know
how much each of them provided. We don't have any insight
into any of those issues. And I think those are going to be
important issues for us to understand as we think about the
amount of time that will be necessary for taking discovery
in this case.

So we would ask —-

THE COURT: Mr. Schmidtlein --

MR. SCHMIDTLEIN: Yes.

THE COURT: -—- if I can interrupt.

And maybe Mr. Dintzer is in the best position to
answer this but: Did the government, in addition to
receiving documents in this case, depose folks under oath as
part of its investigation?

MR. DINTZER: This is Kenneth Dintzer, Your Honor.

As we have informed that -- we sent an email.

They asked us some questions, and we sent an email to
provide them some information. And as we have informed
them, we did not do third-party depositions in this
investigation.

And, of course, Google knows how many depositions

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 17 of 41

16

 

 

we did of them, so they have an understanding of exactly how
many depositions we've done.

THE COURT: Okay.

MR. DINTZER: And it's --

THE COURT: And what about -—- I'm sorry to
interrupt.

And what about sworn statements, sworn
declarations or affidavits?

MR. DINTZER: They didn't ask for that.

And off the top of my head -- I hate to ——

I don't think we have any, but I may be wrong. So I don't
want to say that definitively. But we did provide them with
the volume.

And let me just clarify just so that —— we
provided Google with the volume -- an approximate volume of
what we believe are the producible elements of the
investigation.

And just so that we're clear, and the defendants
know this but just to make sure the Court understands, the
investigation, Your Honor, in this case, which lasted
something south of a year, but it was very broad and it
involved a number of subjects, several of which have nothing
to do with the case that we've -- that is alleged in our
complaint.

And so when we talk about the investigation, it's

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 18 of 41

17

 

 

important to talk about the investigation on the elements in
our complaint, as opposed to other aspects of the
investigation which have no bearing on the elements of our
complaint.

And so what we received from third parties is
larger by -- not by a lot but by some —- than we believe is
going to be producible in this case because of relevance.

So there are other subjects that just aren't a part of this
case.

And so just —- and I wanted to bring that to the
Court's attention. Mr. Schmidtlein obviously knows this
because he's been involved and he knows the other aspects of
the case. But I wanted to make sure that the Court
understands, this is not like a merger case where the entire
investigative file was about the merger, and so there's a
one-to-one correlation. That's simply not the case here.

THE COURT: Yeah. That's actually -—- Mr. Dintzer,
that's helpful to sort of point that out. And, you know,
that's obviously another difference between this case and
the merger context. But it's helpful and thank you for the
reminder.

You're right. I mean, I think last time we were
together, I was, perhaps, too blithe in my contention that
Google is going to want to have the entire investigative

file. And I hadn't really thought through that there may be

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 19 of 41

18

 

 

more or there is, in fact, more in the investigative file
than what might be permitted under the bounds of relevance
under Rule 26.

All right. Well, that's helpful.

So, Mr. Schmidtlein, I interrupted you, and
I think you were either going to make a few other points
about third-party discovery and what you felt would be
helpful in learning in order to shape the schedule here.

MR. SCHMIDTLEIN: Yes, Your Honor.

I just think that we need to get access to that
material. We need to know more about the contours of that
material, not just its 1.5 million documents, which this is
sort of the first time -- I didn't know what that referred
to, if that referred to everything that was part of the
investigation or what the Department is, I suppose, right
now unilaterally claiming is relevant to the litigation.

Again, I don't have insight, I'm not in a position
to validate or contest any of that, because I don't have
access to any of that information. So we do want to learn
the basic information about these things before we're asked
to commit to a schedule, commit to limitations on different
forms of —- different --

THE COURT: Mr. Schmidtlein, short of getting your
hands on the documents, you know, what information do you

think you need that would help inform you about making some

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 20 of 41

19

 

 

preliminary assessments about length of discovery and the

like?

MR. SCHMIDTLEIN: Sure.

And, Your Honor, to be sure —-

THE COURT: And, look —- hang on.

And I recognize that once you actually receive the
material, your initial -- your preliminary assessments are

subject to change, I understand that. But just at least at
this point, it would be helpful to know what you think you
need.

MR. SCHMIDTLEIN: It would be very helpful to get
copies of any CIDs, subpoenas, requests for voluntary
information; in other words, what types of pre-complaint
discovery requests did the government make of the third
parties; what correspondence or back and forth with those
third parties that would have limited potentially the scope
of any such requests; and then the volume of information
produced by a particular third party would give me much
better insight into whether the discovery the government has
taken largely will accomplish what we all need for purposes
of litigation, or whether it looks like the government's
pre-complaint discovery isn't close to being what's going to
be required and we're going to have to start much closer
to —- from scratch. I think that basic information, which

should not be difficult or onerous for the government to

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 21 of 41

20

 

 

produce, would be very helpful.
I also expect, obviously, that when I see their

initial disclosures on Friday, I'm assuming these are going

to be very real, fulsome disclosures; that they are going to

identify the individual third parties that they intend to
rely upon to prove their case here.

THE COURT: So, Mr. Dintzer, let me turn to you
and ask -- and get your reaction and response to, in
particular, Mr. Schmidtlein -- I mean, I hear

Mr. Schmidtlein essentially asking for maybe sort of three

items; one is a list of the third parties to whom -- or from

whom information was received; secondly, the volume of
information received from each of those third parties; and,
thirdly, copies of any document requests, whether subpoena
or some other form, directed to those third parties.

I mean, is that something —-- what's the
government's view on its obligation to produce that
material?

MR. DINTZER: So, Your Honor, as we said last
time, we believe that all of this should happen under the
Federal Rules.

And so our take would be that those would be
things we would certainly expect to see in a document
request or an interrogatory on the first day of discovery,

and we would be prepared to respond to quickly, because we

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 22 of 41

21

 

 

anticipate those.

The second point is that, for the most part,
defendants in federal courts don't have that information
when negotiating out a case-management order. I never have
that information when I'm in the defendant's chair. And
it's really not anticipated by the Federal Rules, other than
disclosures. And, of course, to Mr. Schmidtlein's comment,
we, of course, plan to do very fulsome disclosures on Friday
of people with information that we might choose to rely upon
for trial.

And so what I would say is that the best way for
us to proceed would be to get the case-management order in
place as quickly as possible, which is why, on November 3rd
or 4th, we sent a draft of the case-management order to the
defendants with the interest of moving this along as quickly
as possible.

And so our take is that we should set a date for
the case-management order to be agreed to by the parties.
And I think what we'd really want to do is we want to make
sure that it's -- I'm sorry, Your Honor, did you have a
comment ?

THE COURT: No. I was just going to ask -- and,
look, I take your point.

And I was wondering, in the ordinary course, would

the government produce or object to producing the subpoenas

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 23 of 41

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or the CID requests ‘or whatever form these requests or
records were made in?

MR. DINTZER: No.

THE COURT: No. Okay.

MR. DINTZER: No.

I mean, the truth is, what Mr. Schmidtlein is

asking for is not unreasonable. And so I don't want to

portray that as —- you know, that this is -- that this is
really —- the three things that he's asking for are not
unreasonable and not an enormous list. So I don't want to

pretend that they are.

So I just think that it's -- to be equally fair,
it's not something that -- we told him how many documents
there are. On Friday, he's going to see a list that, quite
honestly, will extend over 100 witnesses, more than, we
haven't finished yet, but more than 100 potential witnesses,
people with information that may be useful. And so he will
have all the information that the federal rules imagine, but
it's not --

I will tell the Court, just as sort of a spoiler
alert, that we are hoping for a full-blooded discovery in
this case; that that is the anticipation of sort of --

I mean, that's the nature of a case like this and that's our
expectation. So obviously we're going to work with the

defendants on this.

 

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 24 of 41

 

 

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But with respect to the question of whether some
discovery is necessary, as Mr. Schmidtlein suggested,
I think that that's -- I mean, we've done no depositions of

third parties, as he knows; and obviously, those are going
to be a big part of the case. And certainly, there's going
to be more -- a greater need for documents and the like,
both from the defendant and from third parties.

And so just to let the Court know sort of where
we're going and what our hopes and expectations are with
respect to discovery going forward.

THE COURT: Okay.

Well, look, I think, you know, based on what I'm
hearing from Mr. Dintzer, Mr. Schmidtlein, I think you are
going to -- it seems like you're going to have a pretty good
window into the government's case, or at least what they've
collected as part of their investigation, when you get these
disclosures.

I mean, if you're going to get the names of 100
potential witnesses, that ought to give you a pretty good
sense of how broadly the government's investigation has been
and you'll be able to really identify who some of these
third parties are. That won't necessarily give you the
answers about volumes and specific requests, but certainly,
I think, should give you a good sense of the breadth of the

investigation and who's been asked to provide information.

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 25 of 41

24

 

 

So what is a realistic timetable, then, for
everyone to be able to get to a point where you have
sufficiently met and conferred, hopefully reached agreement
on most issues, but perhaps there may be some disputes that
T'll need to resolve?

Today's November 18th. Next week is a holiday.
What is reasonable?

And, of course, I've got to resolve the initial
disclosure issue as well. And those third-party submissions
are going to be made by Friday. And I will certainly try
and get that resolved as quickly as possible.

MR. DINTZER: The government would suggest,

Your Honor, that the goal would be to have the
case-management order in place sort of contemporaneous with
the defendant's filing of an answer.

So if we work through what we can, and, you know,
maybe we can get the whole thing put together by, say, the
15th of December and then put the other issues in front of
the Court, to the extent we can, with the hope of getting
them resolved in the week or two thereafter so that by the
end of -- you know, at the time of the answer or very
shortly thereafter, we can have that case-management order
in place, I think that's a reasonable time and to give the
parties a chance to sort of go back and forth and make sure

that we squeeze every agreement we can out of it.

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 26 of 41

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THE COURT: Okay.

Mr. Schmidtlein, what's your view in terms of
timing?

MR. SCHMIDTLEIN: Well --

THE COURT: Well, let me just say the only concern
IT have is, if you all wait until the 14th, that doesn't
leave a lot of time necessarily, because I'd like to get a
case-management order in place before the holidays.

So, you know, if you've got something done, a
proposal to me, by the 11th, I think that would leave us
about ten business days -- well, a little bit less than ten
business days -- for me to consider and deal with any
disputes that you aren't able to resolve, and I can get the
parties in here before people are distracted by the
holidays.

So if I ask for something by the 11th,

Mr. Schmidtlein, is that reasonable in terms of the
timetable?

MR. SCHMIDTLEIN: Absolutely, Your Honor.

THE COURT: Okay.

All right. So what we'll look forward to is for
you all to file essentially sort of a proposed —- sort of a
modified Rule 16.3 statement by December the 11th that not
only addresses what the rule requests, but any -—- you know,

but the additional -- some of the additional issues that I

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 27 of 41

26

 

 

identified that, I think, will be apparent and obvious as
you all are going through this and you all will have a
better sense better than I will of some of what you'll need
to address and put forward to me.

All right. The only other issue that I wanted to
just flag, and I don't know that we need to spend a lot of
time on it today, is the expert reports, and then I suspect
they have either been prepared or are sort of being
prepared.

And I just wanted to let the parties know that at
some point in this -- in the life of this case, I am going
to ask to see and read these expert reports in advance of
any trial in this case.

You know, I found in Sysco that -- I did that, I
asked for the expert reports in advance, read them, and it
put me in a much better position to be able to ask
intelligent, or at least what I thought were intelligent,
questions, I'll let someone else decide whether they were
intelligent or not, but questions that I needed to ask in a
way that would be helpful to me of these experts.

And so, you know, I know that these disclosures
are well into the future, but I just want to sort of put in
the part -- plant the seed in the parties' minds that I will
be asking for these and thinking through the best way to

make that presentation to me.

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 28 of 41

27

 

 

My request in Sysco took, I think, everyone by
surprise. And so what I received were the full expert ——
you know, the Rule 26 expert disclosures, which were
extremely voluminous and dense and sometimes just hard to
digest.

And so whether you all want to think about a
modified report that's designed just for me, in lieu of a
full-blown disclosure report, is something to think about.
And, again, we certainly don't need to make any decisions
about that now, but I just want to plant that seed now for
further discussion and contemplation by the parties as they
move forward.

MR. DINTZER: We appreciate that, Your Honor.

And we'll confer with the defense on making sure

that we get you something -- that both sides get something

that's really useful for the Court ahead of when you have to

hear the evidence.

THE COURT: Okay.

MR. SCHMIDTLEIN: Your Honor, this is
John Schmidtlein.

And we are —- I agree with Mr. Dintzer. We can

certainly put our heads together and come up with a solution

that gets Your Honor the information you're looking for, on

a schedule that allows you to digest it.

One question or some guidance that -—- for you that

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 29 of 41

28

 

would be helpful, at least to me, is, I understand that

least the ones that are done at the outset of a case, that

you oftentimes do those through either the end of fact

summary judgment, and then you wait until later to set an
actual trial date and then all of the various scheduling
issues that accompany, you know, the run-up to a trial.

For purposes of what you'd like us working on
together to submit to you on December 11th, are you looking
for a schedule that would go all the way out through trial
or something shorter than that, which, as I've said, I've
seen in a number of your other case-management orders, that
it stops at that earlier period?

THE COURT: I'm pausing only because -—-— I mean,

But the usual course involves cases, you know, in

which will -—- I'm expected to see extensive summary -- or

to plug it into my schedule or easier to plug into the
schedule.

I just don't know right now whether you all
contemplate some form of summary judgment at the end of

discovery or not; and if you do, then I don't know how

 

typically or often is the case in your scheduling orders, at

discovery or sort of the end —- you know, through the end of

you're right, Mr. Schmidtlein, that that's the usual course.

some amount of summary judgment briefing. And, you know, if

there's to be a trial, it's fairly limited, and so it's easy

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 30 of 41

29

 

 

useful it is to think about a trial date at this point, you
know, because it will obviously take some time and effort to
get through summary judgment.

And I also don't have a sense of how long you
would anticipate a trial will be in this case. Are we
talking about a few weeks or are we talking about months.

I suspect it's probably closer to the latter than the
former.

So I guess what I would say to you right now is as
follows, which is, any further guidance you can give me
about what your current thoughts are would be helpful.

I don't think you necessarily need to put down dates at this
point, if you think some of this is sufficiently unclear.
But preliminary thoughts would be helpful just for my own
purposes and thinking about scheduling as we go ahead.

Look, I'm not naive, I understand this discovery
period is likely to be extensive and we're likely to have a
lot of bumps along the way. But having a sense of what the
parties kind of see over the time -- over the horizon would
be helpful to know.

MR. SCHMIDTLEIN: Thank you, Your Honor.

MR. DINTZER: Thank you, Your Honor. That is
helpful.

THE COURT: OkKay.

I guess one last thing is, you know, look, I'll

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 31 of 41

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get these third-party responses on the protective order on
Friday. Once I've reviewed those, I'll let you all know
whether we need to reconvene for further discussions
specific to the protective order and those issues.

I mean, the parties are —- there's really sort of
one significant issue that needs to be resolved and it may
be useful to have a discussion with all of you about that.
So stay tuned and we may be gathering again next week just
so we can talk through the protective-order disputes.

And so -- actually, let's do this now just for the
sake of getting everybody's schedules cleared. Today is
November 20th -- excuse me, today is the 18th. We're
getting close to Thanksgiving and, perhaps, travel schedules
aren't what they would be ordinarily. So how does
everybody's schedule look, just to be realistic here, on
either the 30th of November or December 2nd?

Alternatively, I may be in a position to have this
discussion on November 25th, but that bumps us to the day
before Thanksgiving.

Go ahead.

MR. DINTZER: I'm just waiting -- a member of my
team will be handling this and I'm just waiting for a text
response from him to confirm that he's available for those
dates, Your Honor. So I don't mean to delay; it will just

take me one minute to get a response.

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 32 of 41

31

 

for us.

MR. DINTZER: Okay.

So, Your Honor, we're available on any of those
dates at your convenience.

THE COURT: Okay.

MR. SCHMIDTLEIN: And I am as well, Your Honor.

THE COURT: Okay.

Well, let's -- instead of trying to rush this
before the holiday, let's set this down -- let's do
December 2nd.

But for the holidays, I would try to set this a
little earlier, but let's set down the 2nd.

And if we can do 11:00 a.m., if that works for
everyone?

MR. SCHMIDTLEIN: We're available, Your Honor.

is Department of Justice.

MR. SCHMIDTLEIN: Same for Google, Your Honor.

THE COURT: Okay.

All right. So we'll look forward to being
together again on December 2nd to discuss the protective
order.

And then, you know, we'll —- why don't we wait

 

MR. GREENE: Yeah. Ken, this is Tom. That works

MR. DINTZER: We're available, Your Honor. This

until -- why don't we actually go ahead right now and just

 

 
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Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 33 of 41

 

sort of -- to fill the schedule out, in anticipation of what
you all are going to file on the 11th, let's set another
hearing to discuss the proposed Scheduling Order and
scheduling issues for the week of the 14th.

How about the 18th for everyone?

MR. SCHMIDTLEIN: That's fine for me, Your Honor.

MR. DINTZER: And that's good for the
United States as well, Your Honor.

THE COURT: All right. Let's set 11:00 on the --
actually, could we do —- let's do 11:00 on the 18th.

And, again, we'll continue to do this
telephonically, and it doesn't seem to be inhibiting our
abilities to get work done here.

All right. With that, is there anything else
anybody else wants to raise before we adjourn?

MR. DINTZER: Not from the government, Your Honor.

MR. SCHMIDTLEIN: Not for Google, Your Honor.

THE COURT: All right. Thank you, all, very much.
We'll talk to you soon.

(Proceedings concluded at 12:12 p.m.)

 

 

 
Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 34 of 41

 

CERTIFICATE
I, William P. Zaremba, RMR, CRR, certify that
the foregoing is a correct transcript from the record of
proceedings in the above-titled matter.
Please note: This hearing occurred during
the COVID-19 pandemic and is therefore subject to the

technological limitations of court reporting remotely.

Date:__November 30, 2020 /S/__William P. Zaremba

William P. Zaremba, RMR, CRR

 

 

 
 

Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 35 of 41

34

 

2

6

 

DEPUTY CLERK: [1]
6/3

MR. DINTZER: [20]
8/11 8/23 9/19 9/23
10/9 10/13 15/19 16/4
16/9 20/19 22/3 22/5
24/12 27/13 29/22
30/21 31/3 31/17 32/7
32/16

MR. GREENE: [1]
31/1

MR. SCHMIDTLEIN:
[15] 14/1 13/11 15/13
18/9 19/3 19/11 25/4
25/19 27/19 29/21 31/7
31/16 31/19 32/6 32/17
THE COURT: [31] 6/2
6/23 8/19 9/13 9/22
10/8 10/12 10/16 11/2
15/12 15/14 16/3 16/5
17/17 18/23 19/5 20/7
21/22 22/4 23/11 25/1
25/5 25/20 27/18 28/15
29/24 31/6 31/8 31/20
32/9 32/18

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0101 [1] 1/21
0151 [1] 3/13
0340 [1] 1/16

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18/12

10-0101 [1] 1/21
100 [3] 22/15 22/16
23/18

1000 [1] 3/18

1024 [1] 2/9

1050 [1] 2/4

1100 [1] 1/15

1152 [1] 5/3

11549 [1] 3/19
11:00 [3] 31/14 32/9
32/10

11:34 [1] 1/6

11th [5] 25/10 25/16
25/23 28/10 32/2
12:12 [1] 32/20
12th [1] 4/8

13th [1] 3/4

14th [2] 25/6 32/4
1549 [1] 3/19

15th [3] 4/45/3 24/18
16.3 [5] 7/25 11/5 11/9
12/20 25/23

1674 [1] 4/5

1700 [1] 4/12

18 [1] 1/5

18th [4] 24/6 30/12
32/5 32/10

19 [1] 33/6

19301 [1] 5/12

 

20 [1] 5/12

20-3010 [2] 1/4 6/4
200 [1] 2/10

20001 [1] 5/18
20005 [2] 4/8 5/4
20006 [2] 4/17 5/7
2001 [1] 5/7

20012 [1] 4/13
200151 [1] 3/12
202 [8] 1/16 4/9 4/13
4/7 5/4 5/8 5/13 5/18
2020 [2] 1/5 33/10
2099 [1] 4/16

20th [5] 7/20 8/23 9/3
9/11 30/12
232-6309 [1] 2/18
25th [1] 30/18

26 [2] 18/3 27/3
265-2738 [1] 5/13
2738 [1] 5/13
29211-1549 [1] 3/19
2nd [5] 3/13 30/16

31/11 31/13 31/22

3

30 [1] 33/10
300 [1] 4/4

3010 [2] 1/4 6/4
302 [1] 2/17
307-0340 [1] 1/16
3090 [1] 3/6

30th [1] 30/16
317 [1] 2/18
32399-1050 [1] 2/4
3249 [1] 5/18

333 [1] 5/17
339-8504 [1] 5/4
354-3249 [1] 5/18
3847 [1] 2/4
39201 [1] 2/23
3970 [1] 3/20

3rd [1] 21/13

4

401 [1] 3/5
40601 [1] 2/10
A15 [1] 1/22
4223 [1] 2/23
434-5000 [1] 4/9
450 [1] 1/20
46204 [1] 2/18
4624 [1] 4/17
Ath [1] 21/14

5

5000 [1] 4/9
502 [1] 2/11
508-4624 [1] 4/17
5108 [1] 5/8

512 [1] 4/5

5300 [1] 2/11

550 [1] 2/22

555 [1] 3/12
583-9211 [1] 1/22
59620-0151 [1] 3/13
5th [1] 4/12

 

601-359-4223 [1] 2/23
615 [1] 3/4

6309 [1] 2/18

64106 [1] 3/5

6503 [1] 5/17
696-5300 [1] 2/11

7

725 [1] 4/8
734-3970 [1] 3/20
78701 [1] 4/5

8

803 [1] 3/20
816-889-3090 [1] 3/6
850-414-3847 [1] 2/4
8504 [1] 5/4
8800 [1] 4/13

9

912-5108 [1] 5/8
9211 [1] 1/22
936-1674 [1] 4/5
94102 [1] 1/21
973-8800 [1] 4/13

A

a.m [2] 1/6 31/14
abilities [1] 32/13
able [4] 23/21 24/2
25/13 26/16

about [29] 7/3 8/2 8/3
8/15 8/21 14/22 15/8
16/5 16/7 16/25 17/1
17/15 18/7 18/11 18/20
18/25 19/1 23/23 25/11
27/6 27/8 27/10 29/1
29/6 29/6 29/11 29/15
30/7 32/5

above [1] 33/4
above-titled [1] 33/4
absent [1] 12/16
absolutely [3] 13/20
14/6 25/19

access [2] 18/10 18/19
accompany [1] 28/8
accomplish [1] 19/20
Action [1] 6/4

actual [1] 28/7
actually [5] 17/17 19/6
30/10 31/25 32/10
Adam [2] 1/13 6/7
addition [1] 15/16
additional [6] 7/18
7/20 9/17 10/20 25/25
25/25

address [1] 26/4
addresses [1] 25/24
adjourn [1] 32/15
admissions [1] 12/21
advance [3] 11/6 26/12
26/15

affect [3] 8/20 13/3
14/21

affected [1] 13/2
affidavits [1] 16/8
afford [1] 8/5

 

again [7] 7/1 11/11
18/17 27/9 30/8 31/22
32/11

agenda [1] 8/10
ago.mo.gov [1] 3/7
ago.ms.gov [1] 2/24
agree [1] 27/21
agreed [2] 14/3 21/18
agreement [2] 24/3
24/25

agreements [1] 13/22
Aguilar [1] 6/7

ahead [4] 27/16 29/15
30/20 31/25

aided [1] 5/20

AL [1] 1/3

alert [1] 22/21

all [27] 6/23 7/1 11/9
12/9 14/17 18/4 19/20
20/20 22/18 25/6 25/21
25/22 26/2 26/2 26/5
27/6 28/7 28/11 28/23
30/2 30/7 31/21 32/2
32/9 32/14 32/18 32/18
alleged [1] 16/23
allows [1] 27/24
along [4] 10/9 13/15
21/15 29/18

already [2] 11/8 12/9
also [3] 6/20 20/2 29/4
Alternatively [1] 30/17
although [1] 8/4

am [2] 26/11 31/7
AMERICA [3] 1/3 6/4
6/9

AMIT [1] 1/10
amount [2] 15/9 28/19
another [2] 17/19 32/2
answer [7] 7/7 8/16
8/18 11/4 15/16 24/15
24/21

answered [1] 11/15
answering [1] 7/9
answers [1] 23/23
anticipate [3] 14/6 21/1
29/5

anticipated [1] 21/6
anticipation [2] 22/22
32/1

anxious [1] 12/4

any [18] 8/8 8/13 10/19
11/21 15/6 15/7 16/11
18/18 18/19 19/12
19/17 20/14 25/12
25/24 26/13 27/9 29/10
31/4

anybody [1] 32/15
anything [2] 10/23
32/14

apparent [1] 26/1
APPEARANCES [5]
1/12 1/24 2/24 3/21
4/19

appeared [1] 15/2
applicable [1] 11/18
appreciate [1] 27/13
approximate [1] 16/15
are [51]

 

aren't [3] 17/8 25/13
30/14

around [1] 14/14
array [1] 15/1

as [37]

ask [10] 8/7 12/8 15/11
16/9 20/8 21/22 25/16
26/12 26/16 26/19
asked [9] 7/19 8/15
11/13 14/17 14/19
15/21 18/20 23/25
26/15

asking [4] 20/10 22/7
22/9 26/24

aspects [3] 11/19 17/2
17/12

Assembly [1] 3/18
assess [1] 14/13
assessments [2] 19/1
19/7

Assistant [1] 3/16
assuming [1] 20/3
atg.in.gov [1] 2/19
attention [1] 17/11
ATTORNEY [10] 2/3
2/8 2/14 2/15 2/21 3/3
3/11 3/16 3/17 4/3
Austin [1] 4/5
available [4] 30/23
31/4 31/16 31/17

Ave [1] 1/20

Avenue [3] 3/12 4/16
5/17

await [1] 11/3

aware [1] 12/13

back [5] 7/1 12/17
13/20 19/15 24/24
Barnhart [2] 2/13 6/11
based [1] 23/12
basic [2] 18/20 19/24
basis [1] 14/19

be [61]

bearing [1] 17/3
because [9] 10/3 14/22
17/7 17/12 18/18 20/25
25/7 28/15 29/2

been [4] 17/12 23/20
23/25 26/8

before [12] 1/10 8/7
8/9 10/7 10/23 12/6
18/20 25/8 25/14 30/19
31/10 32/15

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begun [1] 13/14
behalf [4] 6/8 6/10 6/11
6/19

being [3] 19/22 26/8
31/21

believe [4] 7/9 16/16
17/6 20/20

best [4] 11/10 15/15
21/11 26/24

better [4] 19/19 26/3
26/3 26/16

between [1] 17/19
Biagioli [2] 3/2 6/14

 

 
 

Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 36 of 41

35

 

B

big [1] 23/5

bit [2] 8/2 25/11

blithe [1] 17/23
blooded [1] 22/21
blown [1] 27/8

both [4] 12/4 12/13
23/7 27/15

bounds [1] 18/2

Box [2] 3/12 3/19
breadth [1] 23/24
Bret [2] 4/2 6/17
Bret.Fulkerson [1] 4/6
briefing [1] 28/19
bring [2] 10/7 17/10
broad [1] 16/21
broadly [1] 23/20
Building [1] 3/18
bumps [2] 29/18 30/18
business [3] 12/23
25/11 25/12

Cc

CA [1] 1/21

can [17] 12/2 13/8 13/8
13/22 14/2 14/20 15/14
24/16 24/17 24/19
24/22 24/25 25/13
27/21 29/10 30/9 31/14
can't [1] 9/9

candor [1] 11/10
Capital [1] 2/9
Capitol [1] 2/3
Carolina [4] 3/15 3/17
6/16 8/25

case [38]
case-management [8]
21/4 21/12 21/14 21/18
24/14 24/22 25/8 28/13
cases [1] 28/17
Center [2] 2/9 2/16
certainly [6] 20/23 23/5
23/23 24/10 27/9 27/22
Certified [1] 5/15
certify [1] 33/2

chair [1] 21/5

chance [2] 5/6 24/24
change [1] 19/8
charges [1] 9/17
chatter [1] 9/21

Chief [1] 3/9

choose [1] 21/9

CID [1] 22/1

CIDs [1] 19/12

City [1] 3/5

Civil [1] 6/4

claiming [1] 18/16
clarify [2] 9/23 16/14
Clark [2] 2/7 6/13
clear [1] 16/18
cleared [1] 30/11
CLIFFORD [1] 5/6
cliffordchance.com [1]
5/9

close [2] 19/22 30/13
closer [2] 19/23 29/7
collected [1] 23/16
Colorado [1] 8/24

 

COLUMBIA [2] 1/1
3/19

come [4] 7/12 13/22
14/11 27/22

coming [3] 9/2 9/25
10/18

comment [2] 21/7
21/21

commit [2] 18/21 18/21
Commonwealth [1]
2/9

Commonweath [1] 2/7
complaint [10] 7/9
8/16 9/6 10/3 10/6
16/24 17/2 17/4 19/13
19/22

completely [1] 9/20
computer [1] 5/20
computer-aided [1]
5/20

concern [2] 11/19 25/5
concerning [1] 12/11
conclude [3] 9/1 9/24
10/17

concluded [1] 32/20
conducted [2] 14/15
14/23

confer [1] 27/14
conference [3] 1/9
8/14 11/6

conferred [2] 13/9 24/3
confirm [1] 30/23
connection [1] 15/3
CONNOLLY [1] 4/7
Conrath [2] 1/14 6/8
consider [2] 13/10
25/12
considerations [1]
12/16

considering [1] 13/19
consolidate [2] 9/7
10/6

consolidated [2] 9/8
10/10

Constitution [1] 5/17
Consumer [3] 2/22 3/4
3/10

contemplate [1] 28/24
contemplation [1]
27/11
contemporaneous [1]
24/14

contention [1} 17/23
contest [1] 18/18
context [1] 17/20
continue [2] 7/3 32/11
CONTINUED [4] 2/1
3/1 4/1 5/1

continues [1] 14/13
contours [1] 18/114
convenience [1] 31/5
cooperatively [3] 9/8
10/11 13/25

copies [2] 19/12 20/14
core [1] 11/16
correct [1] 33/3
correlation [1] 17/16
correspondence [1]

 

19/15

could [2] 12/23 32/10
counsel [2] 6/23 14/19
couple [3] 7/11 7/16
14/9

course [9] 9/2 12/5
15/25 21/7 21/8 21/24
24/8 28/16 28/17
court [15] 1/1 5/14
5/16 8/15 8/18 9/12
10/7 10/15 16/19 17/13
22/20 23/8 24/19 27/16
33/7

Court's [1] 17/11
Courthouse [1] 5/16
courts [1] 21/3
COVID [2] 13/2 33/6
COVID-19 [1] 33/6
Craig [2] 1/14 6/8
Craig Conrath [1] 6/8
Creighton [2] 4/11
6/19

CRR [2] 33/2 33/11
current [1] 29/11

CV [1] 1/4

D

D.C [8] 1/5 1/16 4/8
4/13 4/17 5/4 5/7 5/18
Daniel [2] 1/14 6/7
date [5] 14/24 21/17
28/7 29/1 33/10
dates [3] 29/12 30/24
31/5

day [2] 20/24 30/18
days [3] 7/16 25/11
25/12

deadline [2] 7/10 7/12
deal [2] 12/25 25/12
December [7] 7/10
24/18 25/23 28/10
30/16 31/11 31/22
December 2nd [1]
31/11

decide [4] 9/5 10/2
10/5 26/18

decided [1] 10/4
decisions [1] 27/9
declarations [1] 16/8
defendant [3] 1/7 4/7
23/7

defendant's [2] 21/5
24/15

defendants [4] 16/18
21/3 21/15 22/25
defense [1] 27/14
definitive [1] 8/16
definitively [2] 9/9
16/12

degree [1] 14/13
delay [1] 30/24
Dennis [1] 3/18
dense [1] 27/4
DEPARTMENT [6] 1/15
1/20 8/11 13/16 18/15
31/18

depose [1] 15/17
depositions [7] 13/1

 

13/1 13/2 15/23 15/25
16/2 23/3

Deputy [1] 2/14
designed [2] 11/10
27/7

Diana [1] 6/7

did [9] 7/6 12/18 15/16
15/23 16/1 16/12 19/14
21/20 26/14

didn't [2] 16/9 18/13
difference [1] 17/19
different [4] 12/14
12/14 18/21 18/22
difficult [3] 14/12
14/13 19/25

digest [2] 27/5 27/24
Dintzer [12] 1/13 6/6
8/12 8/20 9/14 10/22
15/15 15/19 17/17 20/7
23/13 27/21

directed [1] 20/15
disclosure [2] 24/9
27/8

disclosures [10] 7/15
11/22 12/21 20/3 20/4
21/7 21/8 23/17 26/21
27/3

discovery [23] 8/1
11/20 11/20 11/21
11/25 12/5 12/11 13/23
14/15 14/22 15/9 18/7
19/1 19/14 19/19 19/22
20/24 22/21 23/2 23/10
28/5 28/25 29/16
discuss [4] 10/24
12/18 31/22 32/3
discussion [4] 13/18
27/11 30/7 30/18
discussions [3] 12/1
13/15 30/3

dismiss [2] 7/7 7/8
disputes [5] 12/23 14/4
24/4 25/13 30/9
distracted [1] 25/14
DISTRICT [3] 1/1 1/1
1/10

Division [1] 3/4

do [18] 8/14 8/16 12/23
14/8 15/23 16/23 18/19
18/24 21/8 21/19 28/4
28/25 30/10 31/10
31/14 32/10 32/10
32/11

document [2] 20/14
20/23

documents [6] 14/25
15/17 18/12 18/24
22/13 23/6

does [1] 30/14
doesn't [2] 25/6 32/12
doing [1] 6/24

don't [25] 8/4 8/13 8/16
9/20 11/23 14/22 15/1
15/5 15/6 16/11 16/11
18/17 18/18 21/3 22/7
22/10 26/6 27/9 28/23
28/25 29/4 29/12 30/24
31/24 31/25

 

done [7] 12/7 12/10
16/2 23/3 25/9 28/3
32/13

down [3] 29/12 31/10
31/13

draft [2] 13/17 21/14
Drive [1] 2/9
DuckDuckGo [3] 5/11
5/11 6/22
duckduckgo.com [1]
5/13

due [2] 7/15 7/20
during [2] 14/15 33/5

E

each [2] 15/6 20/13
earlier [2] 28/14 31/13
easier [1] 28/21

easy [1] 28/20

effort [1] 29/2

eight [1] 15/4

either [4] 18/6 26/8
28/4 30/16

elements [3] 16/16
17/1 17/3

Elisabeth [1] 2/20
Elizabeth [2] 1/18 6/6
Elizabeth.Jensen [1]
1/23

else [3] 26/18 32/14
32/15

email [14] 1/17 1/22
2/5 2/24 3/6 4/9 4/14
4/14 4/18 5/5 5/8 5/13
15/20 15/21
encourage [1] 12/7
end [6] 10/18 24/21
28/4 28/5 28/5 28/24
engaging [1] 11/4
enormous [1] 22/10
entire [2] 17/14 17/24
equally [1] 22/12
Erica.Sullivan [1] 2/19
essentially [2] 20/10
25/22

ET [1] 1/3

evaluate [1] 14/11
even [1] 11/15

every [1] 24/25
everybody's [3] 13/7
30/11 30/15
everyone [5] 6/2 24/2
27/1 31/15 32/5
everything [1] 18/14
evidence [1] 27/17
exactly [1] 16/1
excuse [1] 30/12
expect [4] 13/8 14/6
20/2 20/23
expectation [1] 22/24
expectations [1] 23/9
expected [1] 28/18
expert [7] 11/22 12/21
26/7 26/12 26/15 27/2
27/3

experts [1] 26/20
extend [1] 22/15
extensive [2] 28/18

 

 
Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 37 of 41

36

 

E

extensive... [1] 29/17
extent [1] 24/19
extremely [1] 27/4

F

fact [2] 18/1 28/4

fair [1] 22/12

fairly [1] 28/20
families [1] 6/24

fast [1] 12/15

federal [4] 20/21 21/3
21/6 22/18

felt [1] 18/7

few [4] 8/9 14/1 18/6
29/6

Fifth [1] 2/17

file [10] 7/6 9/5 10/2
10/5 11/6 17/15 17/25
18/1 25/22 32/2

filing [2] 8/15 24/15
filings [1] 8/6

fill [1] 32/1

fine [1] 32/6

finished [1] 22/16
finishing [1] 10/4
first [4] 9/25 11/6 18/13
20/24

FL [2] 2/3 2/4

flag [1] 26/6

Floor [3] 2/17 3/13
4/12

Florida [2] 2/2 6/10
folks [1] 15/17
following [1] 8/23
follows [1] 29/10
foregoing [1] 33/3
form [3] 20/15 22/1
28/24

former [1] 29/8
forms [2] 14/7 18/22
forth [3] 11/18 19/15
24/24

forward [11] 7/3 8/2
8/7 10/13 10/19 13/21
23/10 25/21 26/4 27/12
31/21
forward-looking [1]
10/13

found [1] 26/14
framework [1] 8/1
Francisco [1] 1/21
Frankfort [1] 2/10
Franklin [2] 4/10 6/18
frankly [2] 11/11 11/13
Friday [5] 20/3 21/8
22/14 24/10 30/2
front [1] 24/18
frubinstein [1] 4/14
Fulkerson [2] 4/2 6/17
full [4] 15/1 22/21 27/2
27/8

full-blooded [1] 22/21
full-blown [1] 27/8
Fuller [1] 3/12
fulsome [2] 20/4 21/8
further [3] 27/11 29/10
30/3

 

 

future [1] 26/22

G

Gate [1] 1/20
gathering [1] 30/8
GENERAL [10] 2/3 2/8
2/14 2/15 2/21 3/3 3/11
3/16 3/17 4/3
GENERAL/MO [1] 3/3
GENERAL/MS [1] 2/21
get [24] 8/6 11/8 12/5
12/8 13/7 14/8 14/9
18/10 19/11 20/8 21/12
23/16 23/18 24/2 24/11
24/17 25/7 25/13 27/15
27/15 29/3 30/1 30/25
32/13
gets [1] 27/23
getting [5] 13/19 18/23
24/19 30/11 30/13
give [7] 9/12 19/18
23/19 23/22 23/24
24/23 29/10
gmail.com [1] 5/19
go [5] 24/24 28/11
29/15 30/20 31/25
go ahead [2] 30/20
31/25
goal [1] 24/13
going [32] 7/8 8/1 9/6
9/16 10/19 12/25 13/2
13/3 14/5 14/21 15/7
17/7 17/24 18/6 19/22
19/23 20/3 20/4 21/22
22/14 22/24 23/4 23/5
23/9 23/10 23/14 23/14
23/18 24/10 26/2 26/11
32/2
Golden [1] 1/20
good [7] 6/2 6/3 6/23
23/14 23/19 23/24 32/7
Good morning [2] 6/3
6/23
GOOGLE [12] 1/6 6/5
6/19 7/6 9/1 9/24 13/12
15/25 16/15 17/24
31/19 32/17
Google LLC [1] 6/5
got [3] 7/13 24/8 25/9
government [11] 2/16
14/15 14/23 14/24
15/16 19/14 19/19
19/25 21/25 24/12
32/16
government's [4]
19/21 20/17 23/15
23/20
GRAY [8] 4/16 5/11
6/22
greater [1] 23/6
Greene [2] 1/19 6/6
guess [2] 29/9 29/25
guidance [3] 14/9
27/25 29/10

had [6] 7/6 7/8 8/9 9/15
12/15 14/25

 

23/20 28/25 29/4 30/14
32/5

hadn't [2] 10/4 17/25
handling [1] 30/22
hands [1] 18/24
hang [1] 19/5
happen [1] 20/20
happened [1] 10/10
happy [1] 8/22

hard [1] 27/4

Hart [2] 2/20 6/14
hart.martin [1] 2/24
Hartner [2] 3/15 6/16
has [3] 14/24 19/19

l also [2] 20/2 29/4
Lam [2] 26/11 31/7

| believe [1] 7/9
Ican [1] 13/8

I can't [1] 9/9

| completely [1] 9/20
I did [1] 26/14

I don't [2] 8/4 30/24

23/20 | don't have [3] 8/16
hate [1] 16/10 18/17 18/18
have [52] I don't think [2] 16/11

29/12

I guess [2] 29/9 29/25
I have [2] 12/6 25/6

| hope [1] 6/24

[just [7] 9/12 10/14
18/10 22/12 26/10
26/22 28/23

I know [8] 12/4 12/13

haven't [1] 22/16
having [1] 29/18

he [8] 17/12 22/17 23/4
he's [4] 17/12 22/9
22/14 30/23

head [1] 16/10

heads [1] 27/22
healthy [1] 6/25

hear [4] 8/4 8/22 20/9 | 26/21

27/17 I mean [6] 17/22 20/16
heard [3] 9/159/18 | 22/6 22/23 23/18 30/5
15/3 | pulled [1] 12/9

| suspect [1] 29/7

| think [16] 12/19 13/3
13/14 13/25 15/7 17/22
18/6 19/24 21/19 23/3
23/12 23/13 23/24
24/23 25/10 26/1

1 thought [3] 9/14 9/18
26/17

| understand [3] 9/10
19/8 28/1

| want [2] 8/3 14/9

| wanted [4] 8/2 10/24

hearing [5] 7/2 7/11
23/13 32/3 33/5
Helena [1] 3/13

help [1] 18/25

helpful [16] 8/19 10/21
13/13 17/18 17/20 18/4
18/8 19/9 19/11 20/1
26/20 28/1 29/11 29/14
29/20 29/23

here [12] 11/14 11/18
11/24 12/3 12/16 14/12
17/16 18/8 20/6 25/14

30/15 32/13 12/7 26/5
HERRINGTON [1] 5/3 |I was [2] 11/11 17/23
Hi [1] 6/2 | will [3] 11/9 22/20

26/23

I'd [2] 11/7 25/7

I'l [4] 24/5 26/18 29/25
30/2

I'm [12] 8/21 16/5
18/17 20/3 21/5 21/20
23/12 28/15 28/18
29/16 30/21 30/22

I'm just [1] 30/22

I'm not [2] 18/17 29/16
I'm sorry [1] 16/5

I've [4] 24/8 28/12
28/12 30/2

identified [1] 26/1
identify [2] 20/5 23/21
imagine [1] 22/18
important [2] 15/8 17/1
importantly [2] 7/3 7/5
Inc [5] 5/2 5/11 5/11

High [1] 2/22

him [2] 22/13 30/23
holds [1] 9/3

holiday [2] 24/6 31/10
holidays [3] 25/8 25/15
31/12

honestly [1] 22/15
Honor [31] 6/3 8/12
9/19 11/1 13/11 14/2
14/5 14/9 15/19 16/20
18/9 19/4 20/19 21/20
24/13 25/19 27/13
27/19 27/23 29/21
29/22 30/24 31/4 31/7
31/16 31/17 31/19 32/6
32/8 32/16 32/17
HONORABLE [1] 1/10
hope [2] 6/24 24/19
hopefully [1] 24/3

hopes [1] 23/9 6/21 6/22
hoping [1] 22/21 include [3] 9/6 10/5
horizon [2] 11/25 12/19

including [1] 12/20
Indiana [4] 2/13 2/15
2/16 6/12
Indianapolis [1] 2/18

29/19

host [1] 12/12

how [12] 7/3 13/2 13/3
15/6 15/25 16/1 22/13

 

 

indicated [3] 7/6 7/8
9/15

individual [1] 20/5
inform [1] 18/25
informal [1] 13/14
information [20] 8/17
9/12 14/18 15/5 15/22
18/19 18/20 18/24
19/13 19/17 19/24
20/12 20/13 21/3 21/5
21/9 22/17 22/18 23/25
27/23

informed [3] 14/24
15/20 15/22

inhibiting [1] 32/12
initial [9] 7/15 11/6
12/2 12/10 13/6 13/18
19/7 20/3 24/8
inquiries [1] 11/16
insight [3] 15/6 18/17
19/19

instead [1] 31/9
intelligent [3] 26/17
26/17 26/19

intend [2] 8/4 20/5
intent [1] 9/7

interest [1] 21/15
interrogatories [1]
12/22

interrogatory [1] 20/24
interrupt [2] 15/14 16/6
interrupted [1] 18/5
investigation [17] 9/1
9/16 9/25 10/4 14/16
14/23 15/18 15/24
16/17 16/20 16/25 17/1
17/3 18/15 23/16 23/20
23/25

investigative [3] 17/15
17/24 18/1

involved [2] 16/22
17/12

involves [1] 28/17
lowa [1] 8/24

is [67]

is there [1] 32/14
isn't [1] 19/22

issue [8] 7/13 7/17
7/23 12/6 15/4 24/9
26/5 30/6

issued [1] 8/25
issues [16] 8/4 8/5 8/8
8/13 10/24 12/19 13/23
14/7 15/7 15/8 24/4
24/18 25/25 28/8 30/4
32/4

it [24] 9/7 10/7 10/17
10/18 11/11 12/14
14/19 16/21 16/21 19/9
19/11 19/21 23/14
24/25 26/7 26/15 27/24
28/14 28/21 29/1 29/2
30/6 30/24 32/12

it would be [1] 19/9
it's [13] 10/18 14/21
16/4 16/25 17/20 21/6
21/20 22/12 22/13
22/19 28/20 28/20 29/7

 

 
Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 38 of 41

37

 

I
items [3] 8/9 11/12
20/11

its [4] 14/15 15/18
18/12 20/17

J

Jackson [1] 2/23

Jensen [2] 1/18 6/6
jjurata [1] 5/5

John [6] 4/7 5/2 6/18
6/20 13/11 27/20

John Schmidtlein [1]
27/20

Jr [1] 5/2
jschmidtlein [1] 4/9
JUDGE [1] 1/10
judgment [4] 28/6
28/19 28/24 29/3
Jurata [2] 5/2 6/20
just [33] 9/12 10/14
10/18 11/13 16/14
16/14 16/18 16/19 17/8
17/10 18/10 18/12 19/8
21/22 22/12 22/20 23/8
25/5 26/6 26/10 26/22
27/4 27/7 27/10 28/23
29/14 30/8 30/10 30/15
30/21 30/22 30/24
31/25

JUSTICE [4] 1/15 1/20
8/11 31/18

Justin [2] 2/7 6/13
justin.clark [1] 2/11

K

Kansas [1] 3/5

Ken [1] 31/1

Kenneth [4] 1/13 6/6
8/12 15/19
kenneth.dintzer2 [1]
1/17

Kentucky [4] 2/7 2/9
2/10 6/13

Kimberley [2] 3/2 6/14
kimberley.biagioli [1]
3/7

kind [3] 7/21 13/8
29/19

know [51]

knows [4] 15/25 17/11
17/12 23/4

ky.gov [1] 2/11

L

largely [1] 19/20

larger [2] 12/14 17/6
last [8] 7/5 7/11 8/14
8/18 14/1 17/22 20/19
29/25

lasted [1] 16/20
later [1] 28/6

latter [1] 29/7
launch [1] 8/7

learn [1] 18/19
learning [1] 18/8
least [10] 7/13 8/17
12/2 13/17 15/4 19/8

 

 

23/15 26/17 28/1 28/3
leave [2] 25/7 25/10
length [2] 11/20 19/1
less [1] 25/11

let [9] 8/7 9/23 16/14
20/7 23/8 25/5 26/10
26/18 30/2

let's [8] 30/10 31/9
31/10 31/10 31/13 32/2
32/9 32/10

lieu [1] 27/7

life [1] 26/11

like [11] 11/7 11/10
12/3 17/14 19/2 19/21
22/23 23/6 23/14 25/7
28/9

likely [3] 11/14 29/17
29/17

limitations [5] 11/20
11/21 12/20 18/21 33/7
limited [2] 19/16 28/20
limits [1] 12/21

line [1] 6/20

lines [1] 10/9

list [4] 14/17 20/11
22/10 22/14

litigate [2] 9/8 10/10
litigation [3] 10/20
18/16 19/21

little [3] 8/2 25/11
31/13

LLC [2] 1/6 6/5

LLP [4] 4/7 4/16 5/3
5/6

local [2] 11/5 11/9
long [1] 29/4

longer [1] 13/5

look [9] 12/17 19/5
21/23 23/12 25/21
29/16 29/25 30/15
31/21

looking [4] 10/13
11/11 27/23 28/10
looks [2] 12/3 19/21
lot [5] 12/15 17/6 25/7
26/6 29/18

M

made [5] 9/11 10/3
12/10 22/2 24/10
majority [2] 11/12 14/3
make [12] 9/20 11/17
13/6 14/6 16/19 17/13
18/6 19/14 21/19 24/24
26/25 27/9

making [2] 18/25 27/14
management [8] 21/4
21/12 21/14 21/18
24/14 24/22 25/8 28/13
many [4] 13/22 15/25
16/2 22/13

Mark [4] 3/8 4/15 6/15
6/19

Mark Popofsky [1]
6/19

mark.popofsky [1]
4/18

markup [1] 13/19

 

Martin [2] 2/20 6/14
material [5] 14/20
18/11 18/12 19/7 20/18
matter [2] 12/2 33/4
Matthew [2] 2/13 6/11
Mattioli [2] 3/8 6/15
may [9] 9/22 12/9
16/11 17/25 22/17 24/4
30/6 30/8 30/17
maybe [4] 9/14 15/15
20/10 24/17

me [19] 8/7 9/23 13/10
16/14 19/18 20/7 25/5
25/10 25/12 26/4 26/16
26/20 26/25 27/7 28/1
29/10 30/12 30/25 32/6
mean [12] 10/17 10/18
17/22 20/9 20/16 22/6
22/23 23/3 23/18 28/15
30/5 30/24
mechanical [1] 5/20
megan [3] 5/11 5/13
6/22

MEHTA [1] 1/10
member [1] 30/21
merger [3] 17/14 17/15
17/20

Merit [1] 5/15

merits [1] 8/5

met [2] 13/9 24/3
Michaloski [2] 2/13
6/11

mid [1] 7/10
mid-December [1]
7H0

might [6] 7/24 8/15
8/20 9/18 18/2 21/9
million [2] 14/25 18/12
minds [1] 26/23
minimum [1] 13/4
minute [1] 30/25
misheard [2] 9/14 9/22
Mississippi [1] 2/20
Missouri [2] 3/2 6/14
misspoke [1] 9/20
mmattioli [1] 3/14
MO [2] 3/3 3/5

modes [1] 11/20
modifications [1]
11/21

modified [2] 25/23
27/7

Montana [3] 3/8 3/11
6/15

months [2] 13/4 29/6
more [9] 7/2 8/17 10/17
18/1 18/1 18/11 22/15
22/16 23/6

morning [6] 6/2 6/3
6/23 7/1 11/11 14/10
most [4] 7/5 11/18 21/2
24/4

motion [2] 9/6 10/6
move [5] 7/3 7/7 7/8
12/15 27/12

moving [2] 13/21 21/15
Mr [1] 15/12

Mr. [21] 8/20 9/14

 

10/22 10/23 15/15
17/11 17/17 18/5 18/23
20/7 20/9 20/10 21/7
22/6 23/2 23/13 23/13
25/2 25/17 27/21 28/16
Mr. Dintzer [8] 8/20
9/14 10/22 15/15 17/17
20/7 23/13 27/21
Mr. Schmidtlein [12]
10/23 17/11 18/5 18/23
20/9 20/10 22/6 23/2
23/13 25/2 25/17 28/16
Mr. Schmidtlein's [1]
21/7
MS [2] 2/21 2/23
MT [1] 3/13
mt.gov [1] 3/14
much [6] 14/22 15/6
19/18 19/23 26/16
32/18
my [11] 8/9 8/18 9/3
9/10 11/7 16/10 17/23
27/1 28/21 29/14 30/21
myfloridalega!.com [1]
2/6

N

naive [1] 29/16
names [1] 23/18
nature [1] 22/23
Nebraska [1] 8/24
necessarily [3] 23/22
25/7 29/12
necessary [2] 15/9
23/2

need [13] 8/21 18/10
18/11 18/25 19/10
19/20 23/6 24/5 26/3
26/6 27/9 29/12 30/3
needed [1] 26/19
needs [2] 7/14 30/6
negotiating [1] 21/4
never [1] 21/4
nevertheless [3] 11/14
12/7 12/16

New [1] 8/24

New York [1] 8/24
news [1] 9/20

next [3] 13/4 24/6 30/8
Nickelsburg [2] 5/6
6/21

no [9] 1/4 9/22 11/1
17/3 21/22 22/3 22/4
22/5 23/3

Non [5] 5/2 5/6 5/10
6/20 6/21

Non-Party [5] 5/2 5/6
5/10 6/20 6/21

North [3] 3/15 6/16
8/25

North Carolina [1]
8/25

not [28] 7/8 7/24 7/24
9/16 10/19 11/8 11/10
11/13 13/5 15/23 17/6
17/14 17/16 18/12
18/17 19/25 21/6 22/7
22/9 22/10 22/13 22/19

 

25/23 26/19 28/25
29/16 32/16 32/17
note [1] 33/5

nothing [1] 16/22
notice [1] 7/6
November [7] 1/5
21/13 24/6 30/12 30/16
30/18 33/10

now [8] 7/20 18/16
27/10 27/10 28/23 29/9
30/10 31/25

number [6] 12/19
12/21 13/1 15/2 16/22
28/13

NW [7] 1/15 4/8 4/12
4/16 5/3 5/7 5/17

O

oag.texas.gov [1] 4/6
oath [1] 15/17

object [1] 21/25
obligation [1] 20/17
observations [1] 13/7
obvious [1] 26/1
obviously [11] 8/3
11/25 12/25 14/4 15/1
17/11 17/19 20/2 22/24
23/4 29/2

occurred [1] 33/5
October [4] 8/23 9/2
9/3 9/11

off [1] 16/10

OFFICE [8] 2/8 2/14
2/21 3/3 3/9 3/10 3/16
4/3

Official [1] 5/16

often [1] 28/2
oftentimes [1] 28/4
okay [17] 6/23 9/13
10/12 10/16 10/21 11/2
16/3 22/4 23/11 25/1
25/20 27/18 29/24 31/3
31/6 31/8 31/20

once [2] 19/6 30/2
one [12] 7/12 7/13 7/23
10/5 14/8 17/16 17/16
20/11 27/25 29/25 30/6
30/25

onerous [1] 19/25
ones [1] 28/3

only [5] 14/19 25/5
25/24 26/5 28/15
opposed [1] 17/2
Oracle [2] 5/6 6/21
order [19] 7/18 8/4
12/6 14/2 14/4 15/3
18/8 21/4 21/12 21/14
21/18 24/14 24/22 25/8
30/1 30/4 30/9 31/23
32/3

orders [2] 28/2 28/13
ordinarily [1] 30/14
ordinary [1] 21/24
ORRICK [1] 5/2
orrick.com [1] 5/5
other [11] 8/15 17/2
17/8 17/12 18/6 19/13
20/15 21/6 24/18 26/5

 

 
 

Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 39 of 41

38

 

O

other... [1] 28/13
others [1] 7/25

ought [3] 7/25 11/15
23/19

our [12] 7/11 11/5 11/9
16/23 17/2 17/3 20/22
21/17 22/23 23/9 27/22
32/12

ours [1] 10/6

out [5] 17/18 21/4
24/25 28/11 32/1
outset [1] 28/3
outside [1] 14/19
outside-counsel-only
[1] 14/19

over [3] 22/15 29/19
29/19

own [1] 29/14

p

p.m [1] 32/20

P.O [2] 3/12 3/19
PA[1] 5/12

Palmer [2] 2/2 6/10
pandemic [1] 33/6
Paoli [2] 5/12 5/12
papers [1] 7/19

part [7] 15/18 17/8
18/14 21/2 23/5 23/16
26/23

particular [2] 19/18
20/9

particulars [1] 14/14
parties [44]

parties’ [2] 7/15 26/23
parts [2] 9/1 9/24
party [12] 5/2 5/6 5/10
6/20 6/21 14/14 14/23
15/23 18/7 19/18 24/9
30/1

passed [1] 7/13
pausing [1] 28/15
Pennsylvania [1] 4/16
people [3] 21/9 22/17
25/14

Pepper [1] 2/20
perhaps [3] 17/23 24/4
30/13

period [2] 28/14 29/17
permitted [1] 18/2
perspective [1] 11/7
piece [1] 14/12

Pike [1] 5/12

PI [1] 2/3

PI-01 [1] 2/3

place [5] 12/4 21/13
24/14 24/23 25/8
Plaintiff [8] 2/2 2/7
2/12 2/20 3/2 3/8 3/15
4/2

plaintiffs [3] 1/4 1/13
13/16

plan [6] 8/25 9/5 9/24
10/5 10/10 21/8

plant [2] 26/23 27/10
play [1] 7/21

please [2] 8/18 33/5

 

plug [2] 28/21 28/21
point [8] 17/18 19/9
21/2 21/23 24/2 26/11
29/1 29/13

points [1] 18/6
Popofsky [2] 4/15 6/19
portray [1] 22/8
position [5] 7/19 15/15
18/17 26/16 30/17
possible [4] 14/18
21/13 21/16 24/11
potential [2] 22/16
23/19

potentially [3] 10/7
13/23 19/16

pre [2] 19/13 19/22
pre-complaint [2]
19/13 19/22
preliminary [3] 19/1
19/7 29/14

prepared [5] 8/1 12/1
20/25 26/8 26/9
presentation [1] 26/25
press [2] 9/17 10/19
pretend [1] 22/11
pretty [2] 23/14 23/19
Principato [2] 1/14 6/7
probably [3] 11/10
14/2 29/7

proceed [1] 21/12
proceedings [4] 1/9
5/20 32/20 33/4
process [1] 11/4
produce [3] 20/1 20/17
21/25

produced [3] 5/20
14/25 19/18
producible [2] 16/16
17/7

producing [1] 21/25
progress [1] 14/7
proposal [1] 25/10
proposed [2] 25/22
32/3

Protection [3] 2/22 3/4
3/10

protective [10] 7/17
8/4 12/6 14/1 14/4 15/3
30/1 30/4 30/9 31/22
protective-order [4]
8/4 12/6 15/3 30/9
prove [1] 20/6
provide [3] 15/22
16/12 23/25

provided [5] 12/17
13/9 15/5 15/6 16/15
provisions [1] 14/3
pulled [2] 12/9 12/12
pulling [1] 12/2
purposes [38] 19/20
28/9 29/15

put [8] 12/3 24/17
24/18 26/4 26/16 26/22
27/22 29/12

question [3] 13/1 23/1
27/25

 

questions [3] 15/21
26/18 26/19

quickly [7] 12/4 12/24
14/18 20/25 21/13
21/15 24/11

quite [1] 22/14

R

raise [5] 7/23 8/9 8/13
10/23 32/15

raised [1] 14/7
reached [1] 24/3
reaction [1] 20/8
reactions [1] 13/7
read [2] 26/12 26/15
real [1] 20/4

realistic [2] 24/1 30/15
really [7] 17/25 21/6
21/19 22/9 23/21 27/16
30/5

Realtime [1] 5/15
reasonable [3] 24/7
24/23 25/17

reasons [1] 12/12
Rebecca [2] 3/15 6/16
receive [1] 19/6
received [6] 7/18 7/18
17/5 20/12 20/13 27/2
receiving [1] 15/17
recognize [2] 12/5 19/6
reconvene [1] 30/3
record [1] 33/3
recorded [1] 5/20
records [2] 12/23 22/2
referred [2] 18/13
18/14

regarding [1] 11/22
Registered [1] 5/15
relatively [1] 12/4
relay [1] 10/14
relevance [2] 17/7 18/2
relevant [2] 11/14
18/16

rely [2] 20/6 21/9
Rembert [1] 3/18
reminder [1] 17/21
remotely [1] 33/7
report [4] 12/17 12/20
27/7 27/8

Reporter [4] 5/14 5/15
5/15 5/16

reporting [1] 33/7
reports [3] 26/7 26/12
26/15

request [2] 20/24 27/1
requests [9] 12/22
19/12 19/14 19/17
20/14 22/1 22/1 23/23
25/24

require [1] 11/5
required [2] 11/17
19/23

requirements [1] 11/21
resolution [1] 8/3
resolve [6] 12/6 12/23
14/5 24/5 24/8 25/13
resolved [4] 7/14 24/11
24/20 30/6

 

respect [3] 14/1 23/1
23/10

respond [2] 11/13
20/25

response [3] 20/8
30/23 30/25
responses [1] 30/1
reviewed [1] 30/2
reviewing [1] 14/20
rhartner [1] 3/20
right [14] 7/1 17/22
18/4 18/15 25/21 26/5
28/16 28/23 29/9 31/21
31/25 32/9 32/14 32/18
RMR [2] 33/2 33/11
Room [1] 5/17
ROPES [1] 4/16
ropesgray.com [1]
4/18

roughly [1] 14/25
Rubinstein [2] 4/10
6/18

rule [9] 7/25 11/5 11/9
11/12 11/19 18/3 25/23
25/24 27/3

Rule 26 [2] 18/3 27/3
rules [5] 11/5 11/22
20/21 21/6 22/18

run [1] 28/8

run-up [1] 28/8

rush [1] 31/9

Ryan [2] 1/19 6/7

Ss

safe [1] 6/25

said [5] 9/2 9/19 10/17
20/19 28/12

sake [1] 30/11

same [2] 9/17 31/19
San [1] 1/21
Sandrock [2] 1/19 6/8
say [9] 7/24 9/15 9/18
11/9 16/12 21/11 24/17
25/5 29/9

SC [1] 3/19

scag.gov [1] 3/20
schedule [15] 7/22
12/3 12/3 12/14 13/8
13/17 14/11 18/8 18/21
27/24 28/11 28/21
28/22 30/15 32/1
schedules [2] 30/11
30/13

scheduling [9] 8/21
11/6 12/11 13/23 28/2
28/7 29/15 32/3 32/4
Schmidtlein [17] 4/7
6/18 10/23 13/12 15/12
17/11 18/5 18/23 20/9
20/10 22/6 23/2 23/13
25/2 25/17 27/20 28/16
Schmidtlein’s [1] 21/7
scope [5] 11/19 12/11
13/23 14/21 19/16
Scott [3] 2/13 6/10
6/11

scott.palmer [1] 2/5
scratch [1] 19/24

 

screighton [1] 4/14
second [2] 10/2 21/2
secondly [1] 20/12
see [12] 7/2 10/8 11/7
11/24 13/8 14/2 20/2
20/23 22/14 26/12
28/18 29/19

seed [2] 26/23 27/10
seek [2] 9/16 9/18
seem [1] 32/12
seems [1] 23/14

seen [1] 28/13

sense [5] 23/20 23/24
26/3 29/4 29/18

sent [5] 13/16 13/17
15/20 15/21 21/14

set [9] 11/18 13/8
21/17 28/6 31/10 31/12
31/13 32/2 32/9
several [1] 16/22
Severt [2] 1/13 6/7
shape [1] 18/8

short [1] 18/23
shorter [1] 28/12
shortly [1] 24/22
should [4] 19/25 20/20
21/17 23/24

sides [3] 12/4 12/13
27/15

significant [1] 30/6
similar [1] 14/6
simply [2] 10/18 17/16
since [1] 7/5

six [1] 13/4

Skjelborg [1] 1/18

so [62]

So | think [2] 11/3
13/20

solution [1] 27/22
some [24] 7/18 7/20
8/17 8/20 10/24 13/14
13/18 14/4 15/21 15/22
17/6 18/25 20/15 23/1
23/21 24/4 25/25 26/3
26/11 27/25 28/19
28/24 29/2 29/13
someone [1] 26/18
something [10] 13/9
16/21 20/16 22/13 25/9
25/16 27/8 27/15 27/15
28/12

sometime [1] 7/10
sometimes [1] 27/4
Sonos [2] 5/2 6/21
SONSINI [1] 4/11
soon [1] 32/19
sooner [1] 12/1

sorry [2] 16/5 21/20
sort [22] 7/13 8/7 11/15
11/16 11/24 13/7 15/1
17/18 18/13 20/10
22/20 22/22 23/8 24/14
24/24 25/22 25/22 26/8
26/22 28/5 30/5 32/1
south [3] 2/16 3/17
16/21

speak [1] 9/9

specific [2] 23/23 30/4

 

 
 

Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 40 of 41

39

 

Ss

spend [1] 26/6
spoiler [1] 22/20
squeeze [1] 24/25

St [1] 4/8

stand [1] 7/2

start [2] 12/2 19/23
started [3] 11/8 12/5
12/8

state [13] 2/2 2/13 2/15
2/20 3/2 3/8 3/11 3/15
3/17 4/2 4/4 6/10 7/21
statement [7] 7/25
8/25 9/10 10/3 10/14
11/5 25/23
statements [1] 16/7
states [9] 1/1 1/3 1/10
6/4 6/8 8/15 8/24 9/15
32/8

status [3] 1/9 7/2 8/14
stay [1] 30/8
stenography [1] 5/20
Stephen [2] 5/6 6/21
steve.nickelsburg [1]
5/9

still [4] 7/12 7/14 9/11
14/4

stops [1] 28/14
Street [8] 1/15 2/17
2/22 3/4 3/18 4/12 5/3
5/7

subject [2] 19/8 33/6
subjects [2] 16/22 17/8
submission [1] 12/10
submissions [1] 24/9
submit [1] 28/10
subpoena [1] 20/14
subpoenas [2] 19/12
21/25

such [2] 12/20 19/17
sufficiently [2] 24/3
29/13

suggest [1] 24/12
suggested [1] 23/2
Suite [3] 1/21 2/10 3/5
summarily [1] 11/15
summary [5] 28/6
28/18 28/19 28/24 29/3
suppose [1] 18/15
sure [7] 16/19 17/13
19/3 19/4 21/20 24/24
27/14

surprise [1] 27/2
Susan [2] 4/11 6/19
suspect [2] 26/7 29/7
SUTCLIFFE [1] 5/3
sworn [2] 16/7 16/7
Sysco [3] 12/12 26/14
27/1

T

take [5] 20/22 21/17
21/23 29/2 30/25
taken [1] 19/20
taking [1] 15/9

talk [7] 8/2 8/3 8/21
16/25 17/1 30/9 32/19
talked [1] 11/24

 

talking [2] 29/6 29/6
Tallahassee [1] 2/4
team [1] 30/22
technological [1] 33/7
TELECONFERENCE
[1] 1/9
telephonically [1]
32/12

tell [1] 22/20

ten [2] 25/11 25/11
Tennessee [1] 8/24
terms [6] 7/21 8/21
13/21 13/22 25/2 25/17
Texas [4] 4/2 4/4 4/5
6/17

text [1] 30/22

than [10] 10/18 17/6
18/2 21/6 22/15 22/16
25/11 26/3 28/12 29/7
thank [5] 10/21 17/20
29/21 29/22 32/18
thank you [4] 10/21
17/20 29/21 29/22
Thanks [1] 8/20
Thanksgiving [2]
30/13 30/19

that [178]

that's [20] 7/13 7/21
9/9 9/25 10/21 13/13
17/16 17/17 17/18
17/19 18/4 22/23 22/23
23/3 24/23 27/7 27/16
28/16 32/6 32/7

their [10] 8/6 9/1 9/7
9/16 9/24 10/4 13/17
20/2 20/6 23/16

them [10] 10/14 13/20
14/25 15/6 15/22 15/23
16/1 16/12 24/20 26/15
themselves [1] 7/24
then [14] 7/2 7/12 7/17
9/17 12/25 13/7 19/17
24/1 24/18 26/7 28/6
28/7 28/25 31/24

there [12] 8/8 11/14
12/10 14/8 15/2 15/4
17/8 17/25 18/1 22/14
24/4 32/14

there's [5] 7/17 17/15
23/5 28/20 30/5
thereafter [2] 24/20
24/22

therefore [1] 33/6
these [13] 13/15 13/18
14/1 18/20 20/3 22/1
23/16 23/21 26/12
26/20 26/21 26/24 30/1
they [34]

they're [1] 9/6
they've [1] 23/15
thing [5] 10/1 10/2
14/8 24/17 29/25
things [7] 7/2 12/20
13/3 14/9 18/20 20/23
22/9

think [33] 7/3 11/3
11/17 12/19 13/3 13/14
13/20 13/25 14/21 15/7

 

15/8 16/11 17/22 18/6
18/10 18/25 19/9 19/24
21/19 22/12 23/3 23/12
23/13 23/24 24/23
25/10 26/1 27/1 27/6
27/8 29/1 29/12 29/13
thinking [3] 13/21
26/24 29/15

third [20] 7/19 8/5
14/14 14/23 15/4 15/23
17/5 18/7 19/14 19/16
19/18 20/5 20/11 20/13
20/15 23/4 23/7 23/22
24/9 30/1

third-party [6] 14/14
14/23 15/23 18/7 24/9
30/1

thirdly [1] 20/14

this [53]

Thomas [2] 1/19 6/6
those [24] 7/20 9/15
10/9 11/18 11/19 12/1
12/15 13/2 13/6 13/19
15/7 15/7 19/15 20/13
20/15 20/22 21/1 23/4
24/9 28/4 30/2 30/4
30/23 31/4

thought [4] 9/14 9/18
17/25 26/17

thoughts [2] 29/11
29/14

three [2] 20/10 22/9
through [10] 11/24
17/25 24/16 26/2 26/24
28/4 28/5 28/11 29/3
30/9

time [15] 7/20 8/5 8/18
9/17 11/25 15/9 17/22
18/13 20/20 24/21
24/23 25/7 26/7 29/2
29/19

timetable [2] 24/1
25/18

timing [2] 14/21 25/3
titled [1] 33/4

today [6] 8/2 8/5 9/11
26/7 30/11 30/12
Today's [1] 24/6
together [8] 7/5 12/2
14/1 17/23 24/17 27/22
28/10 31/22

told [1] 22/13

Tom [1] 31/1

too [1] 17/23

took [3] 10/17 10/18
27/1

top [1] 16/10

topics [2] 13/15 13/18
transcript [3] 1/9 5/20
33/3

transcription [1] 5/20
travel [1] 30/13

trial [8] 21/10 26/13
28/7 28/8 28/11 28/20
29/1 29/5

true [1] 9/4

truth [1] 22/6

try [2] 24/10 31/12

 

trying [3] 13/21 14/11
31/9

tune [1] 13/20

tuned [1] 30/8

turn [3] 8/9 10/24 20/7
two [1] 24/20

types [1] 19/13
typically [2] 11/3 28/2

U

U.S [3] 1/15 1/20 5/16
unclear [1] 29/13
under [4] 15/17 18/2
18/3 20/20
understand [5] 9/10
15/8 19/8 28/1 29/16
understanding [4] 9/3
9/10 14/20 16/1
understands [2] 16/19
17/14

Understood [1] 10/16
unfold [1] 13/4
unilaterally [1] 18/16
UNITED [6] 1/1 1/3
1/10 6/4 6/8 32/8
United States [1] 32/8
United States of [1]
6/4

unreasonable [2] 22/7
22/10

until [3] 25/6 28/6
31/25

up [4] 9/16 14/11 27/22
28/8

update [1] 8/17

upon [2] 20/6 21/9

us [15] 5/6 7/13 13/13
13/16 13/17 14/12
14/13 14/24 15/8 15/21
21/12 25/10 28/9 30/18
31/2

usdoj.gov [2] 1/17
1/23

useful [5] 12/19 22/17
27/16 29/1 30/7

usual [2] 28/16 28/17
Utah [1] 8/25

Vv

validate [1] 18/18
variety [1] 13/17
various [1] 28/7
vast [2] 11/12 14/3
versus [1] 6/4

very [12] 12/13 12/15
13/13 13/13 14/22
16/21 19/11 20/1 20/4
21/8 24/21 32/18

VIA [1] 1/9

vibrant [1] 9/11

view [2] 20/17 25/2
views [1] 13/18
volume [6] 14/14 16/13
16/15 16/15 19/17
20/12

volumes [1] 23/23
voluminous [1] 27/4
voluntary [1] 19/12

 

vs [1] 1/5

W

wait [3] 25/6 28/6
31/24

waiting [2] 30/21 30/22
want [19] 8/3 8/8 8/13
9/20 10/23 14/8 14/9
14/18 15/3 16/12 17/24
18/19 21/19 21/19 22/7
22/10 26/22 27/6 27/10
wanted [12] 7/23 8/2
8/17 9/12 10/14 10/24
12/7 13/6 17/10 17/13
26/5 26/10

wants [1] 32/15

was [14] 9/2 10/13
11/11 12/10 12/13
12/14 12/17 16/21
17/15 17/23 18/14
20/12 21/22 21/24
Washington [9] 1/5
1/16 2/17 4/8 4/13 4/17
5/4 5/7 5/18

way [5] 21/11 26/20
26/24 28/11 29/18
we.com [1] 4/9

we [85]

we believe [3] 16/16
17/6 20/20

we will [1] 14/6

we'd [1] 21/19

we'll [8] 12/16 13/19
25/21 27/14 31/21
31/24 32/11 32/19

we're [12] 7/1 12/25
16/18 18/20 19/23
22/24 23/9 29/17 30/12
31/4 31/16 31/17
we've [6] 7/12 14/2
14/19 16/2 16/23 23/3
week [4] 24/6 24/20
30/8 32/4

weeks [4] 9/2 9/25
14/1 29/6

well [13] 6/24 10/21
13/24 18/4 23/12 24/9
25/4 25/5 25/11 26/22
31/7 31/9 32/8

were [12] 7/5 9/15 9/16
10/4 10/19 17/22 18/6
22/2 26/17 26/18 27/2
27/3

West [2] 2/17 4/4
what [36]

what's [3] 19/22 20/16
25/2

whatever [1] 22/1
when [9] 10/3 10/17
13/8 16/25 20/2 21/4
21/5 23/16 27/16
where [5] 7/2 7/21
17/14 23/8 24/2
whether [13] 7/7 8/8
8/15 11/23 12/22 19/19
19/21 20/14 23/1 26/18
27/6 28/23 30/3

which [12] 7/18 13/3

 

 
 

Case 1:20-cv-03010-APM Document 80-4 Filed 12/14/20 Page 41 of 41

40

 

W

which... [10] 16/20
16/22 17/3 18/12 19/24
21/13 27/3 28/12 28/18
29/10

who [2] 15/2 23/21
who's [1] 23/25
whole [2] 12/12 24/17
whom [2] 20/11 20/12
why [3] 21/13 31/24
31/25

will [18] 7/9 11/9 14/6
15/9 19/20 22/15 22/17
22/20 24/10 26/1 26/2
26/3 26/23 28/18 29/2
29/5 30/22 30/24
William [4] 5/14 33/2
33/10 33/11
WilliamPZaremba [1]
5/19

WILLIAMS [1] 4/7
WILSON [1] 4/11
window [1] 23/15
witnesses [3] 22/15
22/16 23/19

won't [1] 23/22
wondering [1] 21/24
words [1] 19/13
work [3] 22/24 24/16
32/13

worked [1] 13/25
working [1] 28/9
works [2] 31/1 31/14
would [38]

wrapping [1] 9/16
wrong [1] 16/11
wsgr.com [2] 4/14
4/14

Y

Yeah [2] 17/17 31/1

year [1] 16/21

Yes [2] 15/13 18/9

yet [2] 7/12 22/16
York [1] 8/24

you [90]

you know [4] 13/3 27/3
28/8 28/19

you'd [1] 28/9

you'll [2] 23/21 26/3

you're [5] 17/22 23/14
23/18 27/23 28/16
you've [2] 14/7 25/9
your [43]

Your Honor [31] 6/3
8/12 9/19 11/1 13/11
14/2 14/5 14/9 15/19
16/20 18/9 19/4 20/19
21/20 24/13 25/19
27/13 27/19 27/23
29/21 29/22 30/24 31/4
31/7 31/16 31/17 31/19
32/6 32/8 32/16 32/17

Z

Zaremba [4] 5/14 33/2
33/10 33/11

 

 

 

 

 

 
